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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                              Plaintiff,


                         v.

                                                         Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                              JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                              Defendants.


                                  JOINT STATUS REPORT

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties report on the progress made meeting and conferring regarding the

redaction of certain contested documents solely for the purpose of initial settlement negotiations.

Dkt. 167.

       The Parties hereby confirm that they have been able to agree upon certain redactions for

the de-designation of contested documents for purposes of the forthcoming magistrate settlement

conference pursuant to the Court’s instruction at the June 10, 2020 hearing. See Dkt. No. 167.




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       I.      Ubiquiti’s Position

       In reaching this meet-and-confer agreement for purposes of settlement, Ubiquiti

expressly reserved all rights with respect to its pending Motion for De-Designation and agreed to

accept Defendants’ redactions solely for the purpose of resolving the pending matter as it

pertains to Ubiquiti’s submission of its pre-settlement conference demand letter as directed by

the Court.

       For the reasons set forth herein, Ubiquiti continues to request that the Court grant the

relief sought in the pending Motion for De-Designation, the grounds for which are only further

highlighted by the parties’ recent meet-and-confer process. Ubiquiti maintains its position that

none of the information in the contested documents (or any of the other non-source code

documents produced by Defendants) satisfies the requirements to be designated attorneys’ eyes

only (AEO) under the terms of the Protective Order and applicable law. Defendants have still not

provided any adequate explanation for how any of the contents contain “information so sensitive

that its dissemination to those [in-house counsel representatives] identified in 14(b)(2) and

14(b)(7) would cause demonstrable harm to the [Defendants],” Dkt. 154, at ¶ 7; nor have

Defendants identified any legal authority to support the near-complete (99.9%) designation of

their production as AEO.

       The recent meet-and-confer process demonstrates the perverse situation that Defendants’

abusive AEO designations have created whereby:

       1.      Ubiquiti had to take the first step, identifying key documents and proposing
               redactions to Defendants—thus identifying for the benefit of Defendants the
               specific information that Ubiquiti’s counsel has deemed to be significant at this
               early stage of the litigation.

       2.      Defendants responded by refusing to counter-propose redactions until Ubiquiti
               provided even more disclosures with respect to the relevance of the specific
               information at issue—including legal and factual contentions regarding its
               damages theory. These demands were made notwithstanding the fact that (i)


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               Defendants have already confirmed the relevance of this information in
               voluntarily producing this material as responsive to their own MIDP disclosures;
               and (ii) Defendants have refused to answer any of Ubiquiti’s contention
               interrogatories.

       3.      The parties then met and conferred on a document-by-document basis. During
               that process Defendants again demanded that Ubiquiti identify the relevance of
               specific documents on a line-by-line and word-by-word basis. In one example,
               Defendants redacted an entire document full of single-spaced text, and only
               relented on a few lines when Ubiquiti explained the relevance of those specific
               sentences. See, e.g., Exhibit A (meet/confer e-mail communications) p. 2. In
               another, Ubiquiti was forced to request removal of redactions of certain words. Id.
               p. 1-2.

       4.      In order to be able to show its in-house counsel any of the supporting information
               sought to be cited in its pre-settlement conference demand letter, Ubiquiti’s
               counsel necessarily had to agree to these line-by-line redactions without
               consultation with its client—who will now receive piece-meal information long
               after every other party and counsel in the case, without the benefit of being able to
               confer with its outside counsel regarding the remaining content of these
               documents (or any other document contained in Defendants’ production).

       This process is highly prejudicial to Ubiquiti and undermines the foundation and purpose

of the federal discovery rules. Defendants’ near-complete (99.9%) designation of their

production of AEO is wholly unsupported by applicable law and necessitates that Ubiquiti

identify documents it believes to be relevant to opposing counsel before even being able to

discuss theories based upon them with its own client. Such forced-disclosure necessarily includes

work product of Ubiquiti’s counsel; indeed, Defendants demanded explanations of relevance at a

word-by-word level in the documents. Further, the forced-disclosure provides an unfair

advantage to Defendants by giving them notice of Ubiquiti’s counsel’s work product even before

Ubiquiti’s in-house counsel, including with respect to theories that Ubiquiti’s in-house counsel

may ultimately choose not to pursue. Finally, it provides a one-way street: Defendants counsel

can—and did—use this process to leverage informal contention discovery from Ubiquiti while

refusing (to-date) to answer interrogatories on that same issue.

       Finally, this process is antithetical to Defendants’ stated desire to engage in meaningful


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settlement negotiations with Ubiquiti to resolve this action. By forcing Ubiquiti’s in-house

counsel to operate in the dark as to the content of Defendants’ production (save for a handful of

heavily redacted documents), Defendants have necessarily deprived Ubiquiti of its ability to fully

evaluate the merits of any settlement proposed by Defendants—while also conveying the

impression that Defendants are concealing responsive documents and information regarding the

results of the Elevate program that will ultimately be at issue in this litigation.

       In order to allow this litigation to proceed—both substantively and in terms of settlement

discussions—Defendants must be required to de-designate their production to Confidential in

accordance with the terms of the Protective Order and controlling law. Accordingly, for the

reasons set forth herein and its prior briefing, Ubiquiti respectfully requests that the Court grant

the relief requested in the Motion for De-Designation.


       II.     Defendants’ Position

       The agreement reached by the parties concerning materials that could be shown to

Ubiquiti’s identified in-house counsel for settlement purposes demonstrates that Ubiquiti’s

motion to compel de-designation of Defendants’ production was entirely unnecessary. A similar

agreement could have been reached had Ubiquiti either satisfied its meet and confer obligations

under the Protective Order or merely given Defendants a reasonable time to respond (beyond the

zero-business day demand for Defendants to review certain “Exhibit B” documents1). Indeed,

Defendants demonstrated their willingness to resolve these issues without motion practice by de-

designating portions of 128 pages of additional materials (beyond the documents identified in

Ubiquiti’s Motion to Compel), which Ubiquiti identified as essential to forming a settlement


1
 The “Exhibit B” documents refer to the documents listed in Exhibit B (Dkt. 134) to Ubiquiti’s
Motion to Compel De-Designation (Dkt. 132) and the “Exhibit D” documents refer to the
documents listed in Exhibit D (Dkt. 161) to Ubiquiti’s Reply (Dkt. 157).


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offer for the first time this week. Ubiquiti’s premature motion entirely skipped this process and

instead necessitated costly motion practice, further delaying the settlement demand Defendants

have sought for nearly 2 years. And the fact that Ubiquiti continues to identify information it

deems necessary to form a settlement demand over two weeks after its settlement demand was

due is telling.

        All of the designated materials identified by Ubiquiti (including the Exhibit B and D

documents attached to in support of its Motion and Reply, as well as the additional materials

separately identified this week) easily qualify as “Confidential Restricted – Attorneys’ Eyes

Only” (“Restricted-AEO”) under the Protective Order, as these documents contain information

that “is so sensitive that its dissemination to [Ubiquiti’s in-house counsel] and [witnesses at

depositions] would cause demonstrable harm to [Cambium].” Dkt. 154 at § 7. These documents

contain sensitive business plans and projections for numerous products, including products

beyond those at issue in this case. Disclosure of this information to Cambium’s direct competitor

would create the risk of use by Ubiquiti of this sensitive information in competition with

Cambium, and is precisely what the Protective Order is designed to avoid. The very documents

cited to by Ubiquiti in support of its motion therefore support Defendants’ position rather than

Ubiquiti’s. Defendants’ designation of these materials is entirely appropriate.

        It is therefore Defendants’ position that any further disputes over confidentiality

designations should be worked out between the parties—the very same process that lead to

successful resolution of this dispute—and only after the settlement conference, in the event the

parties do not settle the case.

        Defendants also contend that Ubiquiti should complete its production under the MIDP

and provide its damages calculation so that the parties can take a consistent approach going




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forward with respect to designation of confidential information. Ubiquiti’s current production is

no doubt incomplete. To date Ubiquiti has produced only 84 documents even though it was

required to produce at least the following categories of documents under the MIDP standing

order:


                  Documents related to the development of the Ubiquiti 18
                  Modules

                  All versions of source code that Ubiquiti has made publicly
                  available and/or distributed subject to an open source
                  license

                  Customer contracts related to M-series devices

                  Documents evidencing Ubiquiti’s investment in M-series
                  devices, the AirMAX protocol, and airOS

                  Documents showing the loss by Ubiquiti of any customers
                  or any prospective customers, and the cause of any such loss

                  A computation of each category of damages claimed … and
                  a description of the documents or other evidentiary material
                  on which it is based


See Defendants’ First Supplemental MIDP Disclosures at 6-8; Defendants’ Second Supplemental

MIDP Disclosures at 6-8. Ubiquiti is required to produce these documents without “party-

initiated discovery requests.” See Mandatory Initial Discovery Users’ Manual for the Northern

District of Illinois (“MIDP Manual”) at 3-4. Surely Ubiquiti knew that “documents related to the

development of the Ubiquiti 18 Modules,” “publicly available” and “open source” versions of its

source code, and documents evidencing Ubiquiti’s “investment” in the technology at issue are

documents that the MIDP requires it to “accelerate the disclosure of” in lieu of “more costly

party-initiated discovery.” MIDP Manual at 3. But to date Ubiquiti has refused to satisfy its




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obligations under the MIDP, including production of the “18 files” the Court recognized as

critical to figuring out what is relevant to the case.


Dated: June 18, 2020                                     Respectfully submitted,



FOX, SWIBEL, LEVIN & CARROLL, LLP                      BAKER BOTTS L.L.P.

/s/ Steven J. Reynolds                                 /s/ Jon V. Swenson
David Koropp (ARDC #6201442)                           G. Hopkins Guy, III (CA Bar No. 124811)
dkoropp@foxswibel.com                                  Jon V. Swenson (CA Bar No. 233054)
Erik J. Ives (ARDC #6289811)                           Karina Smith (CA Bar No. 286680)
eives@foxswibel.com                                    1001 Page Mill Road
Steven J. Reynolds (ARDC #6293634)                     Building One, Suite 200
sreynolds@foxswibel.com                                Palo Alto, CA 94304-1007
Steven L. Vanderporten (ARDC # 6314184)                650.739.7500 (Telephone)
svanderporten@foxswibel.com                            650.739.7699 (Facsimile)
Fox Swibel Levin & Carroll LLP                         hop.guy@bakerbotts.com
200 W. Madison St., Suite 3000                         jon.swenson@bakerbotts.com
Chicago, IL 60606                                      karina.smith@bakerbotts.com


Attorneys for Plaintiff Ubiquiti Inc., f/k/a           Local Counsel:
Ubiquiti Networks, Inc.
                                                       James P. Fieweger (Bar ID No. 6206915)
                                                       Michael Best & Friedrich, LLP
                                                       444 W. Lake Street. Suite 3200
                                                       Chicago, IL 60606
                                                       312.222.0800 (Telephone)
                                                       jpfieweger@michaelbest.com

                                                       Arthur Gollwitzer, III (Bar ID No. 6225038)
                                                       Michael Best & Friedrich, LLP
                                                       2801 Via Fortuna, Suite 300
                                                       Austin, Texas 78746
                                                       512.640.3160 (Telephone)
                                                       agollwitzer@michaelbest.com

                                                       Attorneys for Defendants Cambium Networks,
                                                       Inc. et. al




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